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       In the United States Court of Federal Claims
                                        No. 05-232V
                                     Filed: April 3, 2009


*      *       *      *      *      *      *       *

MARY DARIN WILKERSON, as mother                    *
of her son, OTTO WILKERSON,
                                                   *        National Childhood Vaccine Injury
               Petitioner,                                  Act, 42 U.S.C. § 300aa-10 to -34
                                                   *        (2000); Statute of Limitations;
               v.                                           “first symptom or manifestation of
                                                   *        onset”; Markovich v. Sec'y of HHS,
SECRETARY OF THE DEPARTMENT                                 477 F.3d 1353 (Fed. Cir. 2007)
OF HEALTH AND HUMAN SERVICES,                      *

               Respondent.                         *

*      *       *      *      *      *      *       *

                                  OPINION AND ORDER

HODGES, Judge.

        Petitioner contends that her son developed attention deficient hyperactivity disorder
(ADHD) after receiving a series of vaccinations containing thimerosal, a mercury-based
preservative. She sued for compensation pursuant to the National Childhood Vaccine Injury
Act in February 2005. See 42 U.S.C. § 300aa-1to -34 (2000). The Chief Special Master
dismissed her petition on jurisdictional grounds, and petitioner filed a motion for review.
Petitioner filed her claim more than thirty-six months after her son’s first symptoms occurred.
We deny the petitioner’s motion for review.

                                    BACKGROUND

       Otto Wilkerson was born on May 3, 19971 He received a series of early childhood
vaccinations, including hepatitis B, polio, and measles, mumps, and rubella.


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       See Wilkerson v. Sec'y of HHS, No. 05-232V, slip. op. at 4 (Fed. Cl. Spec. Mstr. Sept.
30, 2008). The facts are not in dispute.
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        When petitioner’s son was six years old, a physician suspected ADHD and referred
him for testing. A licensed social worker conducted tests and concluded that Otto met the
clinical criteria for ADHD. His pediatrician corroborated the ADHD diagnosis in January
2004.

        The Government filed a motion to dismiss petitioner’s claim on jurisdictional grounds
in May 2006. Defendant alleged that petitioner filed her claim beyond the statute of
limitations. The Special Master stayed proceedings pending the outcome of a similar
question in a related case. The Government renewed its motion after the United States Court
of Appeals for the Federal Circuit issued an opinion on the statute of limitations question in
Markovich v. Secretary of HHS, 477 F.3d 1353 (Fed. Cir. 2007).

        The parties exchanged expert reports and evaluations by the social worker and the
Special Master ordered an evidentiary hearing to consider these reports and evaluations.
Petitioner contended that such a hearing was unnecessary because the experts would likely
agree on the date that Otto’s ADHD symptoms began. According to petitioner, the only
remaining issue was a legal one; that is, when the statute of limitations began to run. The
parties agreed that Otto’s symptoms began on November 3, 2001, “at the latest.”

                                        DISCUSSION

       We review the factual findings of special masters according to the arbitrary and
capricious standards set forth in the Vaccine Act. 42 U.S.C. § 300aa-12(e)(2)(B). We
review their conclusions of law de novo. Munn v. Sec’y of HHS, 970 F.2d 863, 870 n.10
(Fed. Cir. 1992).

        The Vaccine Act requires that petitioners file suit within thirty-six months of “the date
of the occurrence of the first symptom or manifestation of onset.” 42 U.S.C. § 300aa-
16(a)(2). The legal issue in this case is the meaning of “occurrence of the first symptom or
manifestation of onset.” The parties’ expert agreed that the ADHD symptoms in this case
appeared no later than November 3, 2001.

        Petitioner contends that the statute of limitations should not begin to run until the
“medical profession at large” could have recognized that the symptoms were related to
ADHD, citing the Court of Appeals for the Federal Circuit. See Markovich, 477 F.3d at
1360. However, the Federal Circuit’s focus in that case was the Vaccine Act’s requirement
that a petition be filed within three years of a “first symptom or manifestation of onset.” Id.
In other words, the court held that the earlier of a symptom or a manifestation of onset would
trigger the statutes period of limitation. Id. The Federal Circuit found that an infant’s eye-
blinking episode on July 10, 2000 was the first objective symptom of injury observable by
the medical community, and it directed the case be dismissed on jurisdictional grounds. Id.


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        The Federal Circuit recognized in Markovich that the statute of limitations may begin
running in some cases before petitioners would have been able to discern the nature of their
injuries. Thus, the plain language of section 16(a)(2) expresses Congress’ intention that the
statute could begin to run before a petitioner knew that he or she had a cognizable claim
under the Vaccine Act.

         A ruling by this court before Markovich was decided highlights the intended meaning
of the Circuit’s ruling. This court held that cases such as autism in which “there is no clear
start to the injury . . . , prudence mandates that a court addressing the statute of limitation not
hinge its decision on the occurrence of the first symptom.” Setnes v. United States, 57 Fed.
Cl. 175, 179 (Fed. Cl. 2003).

       The Federal Circuit was aware of the Setnes decision and disagreed with it. See
Markovich, 477 F.3d at 1358. The Appeals Court rejected the Setnes’ court’s reasoning as
being contrary to the language of the Vaccine Act; the panel discussed its disagreement in
some detail. Id. at 1356-59. Thus, while excerpts of the Federal Circuit’s Opinion seem to
lend support to petitioner’s argument here, the Federal Circuit’s holding is clear: according to
§ 16(a)(2), the event that triggers the running of the statute of limitations is either a symptom
or manifestation of onset, whichever occurs first.

                                        CONCLUSION

        The parties agreed that November 3, 2001 was the date on which petitioner’s
symptoms first appeared. Given petitioner’s concession, the Chief Special Master had no
choice, in light of Markovich, to rule that he lacked jurisdiction to consider the case on the
merits.

        Petitioner’s motion for review is DENIED. The Clerk of Court will enter judgment
for the Government. No costs.



                                              s/ Robert H. Hodges, Jr.
                                              Robert H. Hodges, Jr.
                                              Judge




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